     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 1 of 19 Page ID #:1



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12

13                          UNITED STATES DISTRICT COURT
14
                          CENTRAL DISTRICT OF CALIFORNIA
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17     NINTENDO OF AMERICA INC., a          Case No. 2:19-CV-07818
       Washington corporation
18                                          COMPLAINT FOR:
                          Plaintiff,
19                                          1) COPYRIGHT INFRINGEMENT, 17
               v.                              U.S.C. 501;
20
       MATTHEW STORMAN, an                  2) FEDERAL TRADEMARK
21     individual, JOHN DOES 1-10,             INFRINGEMENT AND UNFAIR
       individuals and/or corporations,        COMPETITION, 15 U.S.C. §§ 1114,
22                                             1125(a);
                          Defendant.        3) UNFAIR COMPETITION, CAL.
23                                             BUS. & PROF. CODE § 17200
24
                                              DEMAND FOR JURY TRIAL
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                                                                     COMPLAINT AND
                                                               DEMAND FOR JURY TRIAL
     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 2 of 19 Page ID #:2



 1            For its complaint, plaintiff Nintendo of America Inc. (“NOA”) alleges as
 2    follows:
 3                                   I.     NATURE OF ACTION
 4            1.         Defendant Matthew Storman and persons of unknown identity
 5    (“Defendants”) own and operate the website www.romuniverse.com (the
 6    “Website”) built largely on brazen and mass scale infringement of Nintendo’s
 7    intellectual property rights. The Website is among the most visited and notorious
 8    online hubs for pirated Nintendo video games. Through the Website, Defendants
 9    reproduce, distribute, monetize, and offer for download thousands of unauthorized
10    copies of Nintendo’s video games. This includes games for nearly every video
11    game system Nintendo has ever produced including hundreds of games for its
12    recently released Nintendo Switch. According to the Website, as of the date of
13    filing this Complaint, hundreds of thousands of copies of Nintendo games have
14    been illegally downloaded through the Website including nearly 300,000
15    downloads of copies of pirated Nintendo Switch games and more than 500,000
16    copies of pirated Nintendo 3DS games.
17                                          II.    PARTIES
18            2.         NOA is a Washington corporation with its headquarters and principal
19    place of business in Redmond, Washington. NOA is a wholly-owned subsidiary of
20    Nintendo Co., Ltd. (“NCL”) (collectively with NOA, “Nintendo”), a Japanese
21    company with its headquarters and principal place of business in Kyoto, Japan.
22    Nintendo is in the business of developing and distributing electronic video game
23    systems, video games, accessories, and other copyrighted works. NOA is
24    responsible for the marketing and sale of Nintendo products in the United States
25    and elsewhere in the Western Hemisphere. NOA is also responsible for enforcing
26    Nintendo’s intellectual property rights in the Western Hemisphere.
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28
                                                    -1-                       COMPLAINT AND
                                                                        DEMAND FOR JURY TRIAL


     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 3 of 19 Page ID #:3



 1            3.         On information and belief, defendant Matthew Storman is a natural
 2    person who resides in this District. Defendant Storman owns or controls the
 3    Website.
 4            4.         John Does 1-10 are individuals or corporations working in active
 5    concert and participation with defendant Storman to operate, control, and/or profit
 6    from the Website.
 7            5.         Defendants store, categorize, and reproduce unauthorized copies of
 8    Nintendo video games and related copyrighted works and distribute those copies.
 9    For example, infringing Nintendo Switch game files can be easily searched,
10    located, and downloaded from the Website. In reproducing and distributing these
11    copies, Defendants make extensive use of Nintendo’s copyrights and trademarks for
12    their own profit.
13            6.         Upon information and belief, each of the Defendants was, at all times
14    mentioned in this Complaint, acting as the agent, employee, or alter ego of every
15    other defendant, and in doing the things mentioned herein, was acting within the
16    course and scope of such agency, employment, or other relationship and with full
17    knowledge and consent of each of the other Defendants.
18                                III.   JURISDICTION AND VENUE
19            7.         This Court has federal question jurisdiction over this action under 28
20    U.S.C. §§ 1331 and 1338, because this action alleges violations of the Lanham Act
21    (15 U.S.C. §§ 1114 and 1125(a)) and the Copyright Act (15 U.S.C. § 501, et seq.).
22            8.         This Court has supplemental jurisdiction over the remaining claims
23    under 28 U.S.C. § 1367.
24            9.         This Court has personal jurisdiction over defendant Storman, who
25    resides in the Central District of California. NOA does not currently know the
26    identity or location of the Doe defendants.
27            10.        Venue is appropriate pursuant to 28 U.S.C. §§ 1391(b) and 1400(a),
28    because defendant Storman resides in the federal judicial district of the Central
                                                     -2-                        COMPLAINT AND
                                                                          DEMAND FOR JURY TRIAL


     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 4 of 19 Page ID #:4



 1    District of California and a substantial part of the infringing acts occurred in this
 2    District.
 3                                IV.   FACTS AND BACKGROUND
 4    A.      Nintendo, Its Business, and Its Intellectual Property Rights
 5            11.        “Nintendo” is a famous brand throughout the United States and the
 6    world, known by consumers of all ages for its fun and innovative video games,
 7    video game systems, and its beloved video game characters.
 8            12.        Nintendo develops, manufactures, markets, and distributes electronic
 9    video game hardware, software, and related accessories. Nintendo has released a
10    variety of video game systems, such as the Nintendo Entertainment System,
11    released in 1985. Nintendo has since released additional video game systems
12    including the Super Nintendo Entertainment System in 1991, Nintendo 64 in 1996,
13    Nintendo GameCube in 2001, Nintendo DS in 2004, Wii in 2006, Nintendo DSi in
14    2008, Nintendo 3DS in 2011, and Nintendo Switch in 2017. To this day, Nintendo
15    continues to make games for each of these systems available to the public.
16            13.        Nintendo is widely recognized as one of the best-selling video game
17    system developers in the world, and also one of the most recognized international
18    companies in the world. Nintendo products—including its video game systems and
19    games—have achieved worldwide renown and have made the Nintendo brand
20    famous throughout the world.
21            14.        Nintendo built its popularity and market achievements through
22    substantial creative and financial investment in the development of new video
23    games, products, and intellectual property, as well as in marketing. Nintendo
24    garnered tremendous consumer awareness and goodwill through its commitment to
25    developing and delivering innovative, fun, and memorable video game systems and
26    games. Nintendo’s video game systems and games are enjoyed by tens of millions
27    of consumers in the United States and abroad.
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                                                    -3-                        COMPLAINT AND
                                                                         DEMAND FOR JURY TRIAL


     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 5 of 19 Page ID #:5



 1            15.        The Nintendo 3DS and Nintendo Switch are two of Nintendo’s most
 2    popular video game systems, and the games for these systems have also been
 3    immensely popular. Nintendo has sold more than 100 million units of these two
 4    systems and hundreds of millions of games for the two systems.
 5            16.        Nintendo has made substantial investments in the development,
 6    marketing, and promotion of its innovative products and services. Nintendo has
 7    acquired intellectual property and authorizes licensees who create and publish many
 8    popular video games specifically and exclusively for play on Nintendo’s video
 9    game systems. Nintendo video games can take years and millions of dollars to
10    develop.
11            17.        NOA holds registered copyrights and registered trademarks for various
12    Nintendo video games, video game systems, video game characters, and related
13    word and design marks, including without limitation those listed in Exhibit A
14    (copyrights) and Exhibit B (trademarks).
15    B.      Online Piracy and Nintendo’s Efforts to Protect Its Intellectual Property
              Rights
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              18.        The popularity of Nintendo’s video games and video game systems
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      has made Nintendo the target of intellectual property pirates, who benefit from
18
      Nintendo’s investments and innovation by making and distributing unauthorized
19
      copies of Nintendo video games.
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              19.        In the world of video game piracy, unauthorized copies of video games
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      often take the form of copies of the read-only memory files or read-only memory
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      images of Nintendo’s games, commonly referred to as “ROMs.” The name refers
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      to the process of copying the software that constitutes a video game from the read-
24
      only memory found in a game cartridge or disk. These unauthorized copies—
25
      “ROMs”—can be played on computers, phones, and other devices through the use
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      of an “emulator,” a piece of software designed to mimic the functionality of the
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      physical video game system like the Nintendo 3DS or Nintendo Switch. ROMs can
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                                                    -4-                       COMPLAINT AND
                                                                        DEMAND FOR JURY TRIAL


     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 6 of 19 Page ID #:6



 1    also be played on Nintendo’s hardware using hacking techniques.
 2            20.        Illegal copying of video game software is an international problem.
 3    Nintendo has taken many steps to halt the illegal copying, marketing, sale, and
 4    distribution of Nintendo video games designed to be played on Nintendo video
 5    game systems. For example, Nintendo employs technological protection measures
 6    and digital rights management tools to prevent piracy and supports law enforcement
 7    authorities who target internet piracy around the world.
 8            21.        Nintendo’s efforts have included registration of the intellectual
 9    property rights in and to its video game systems and software in the United States
10    and around the world. In addition, Nintendo protects and enforces its rights
11    through legal actions brought around the world to stop individuals and companies
12    from trafficking in pirated copies of its video games.
13    C.      Defendants’ Infringing Activities
14            22.        In or around 2009, defendant Storman sent an email to the members of
15    the Website noting that he would be adding new content including ROMs for
16    various Nintendo video game systems. In this same e-mail, defendant Storman
17    advertised that Website users could purchase Premium Memberships for $30 per
18    year to get access to unlimited downloads and download speeds with no
19    advertisements.
20            23.        In 2018, around the time that Nintendo successfully enforced its
21    intellectual property rights against other infringing ROM websites, defendant
22    Storman bragged that his Website would continue to offer Nintendo ROMs. After
23    the removal of the other infringing ROM websites, internet traffic to the Website
24    increased.
25            24.        Defendants own and operate the Website which offers downloads of
26    thousands of illegal copies of Nintendo video games, profiting from their blatant
27    and willful infringement of Nintendo’s intellectual property.
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                                                      -5-                        COMPLAINT AND
                                                                           DEMAND FOR JURY TRIAL


     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 7 of 19 Page ID #:7



 1            25.        The Website has attracted hundreds of thousands of visitors a month,
 2    reaching nearly 400,000 visitors a month in March 2019, with over 20% of those
 3    visitors residing in the United States and a significant portion of Website traffic
 4    generated by Nintendo Switch and 3DS piracy-related keywords.
 5            26.        Defendants have acted and are acting with the purpose of causing
 6    injury to Nintendo or with the substantial certainty that such injury would result.
 7            27.        The homepage of the Website claims to be “the best romsite in the
 8    universe” and offers a search bar allowing users to search for specific ROMs to
 9    download.
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19            28.        The Website contains and offers to the public an immense library of
20    unauthorized copies of video games, primarily Nintendo video games designed for
21    nearly every video game system Nintendo has ever produced. This includes, for
22    instance, the list of copyrighted games provided in Exhibit A.
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                                                    -6-                        COMPLAINT AND
                                                                         DEMAND FOR JURY TRIAL


     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 8 of 19 Page ID #:8



 1            29.        Visitors to the Website can use the search bar to locate pirated games,
 2    or browse through a catalog of pirated games organized by the system for which the
 3    games were originally developed:
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14            30.        Once visitors to the Website select a particular video game system
15    (such as the Nintendo Switch), they are taken to a dedicated page for that system
16    which lists all of the pirated games offered by Defendants for download for that
17    system.
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                                                     -7-                        COMPLAINT AND
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     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 9 of 19 Page ID #:9



 1            31.        Next, visitors to the Website can select a particular pirated game and
 2    are then taken to a dedicated webpage for that game. The visitor can then
 3    download an unauthorized copy of that game from that webpage.
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18            32.        For several of the pirated games that the Website offers for download,
19    the Website also displays an image of the video games’ original “box art,” many of
20    which include Nintendo’s registered copyrights for commercial packaging and
21    graphic designs on the packaging, as well as Nintendo’s registered trademarks (for
22    example, images of Mario and the Nintendo logo):
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                                                     -8-                        COMPLAINT AND
                                                                          DEMAND FOR JURY TRIAL


     LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 10 of 19 Page ID #:10



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13             33.        As shown below, the Website also displays the total number of games
14     available for each video game system, the total number of downloads of each game,
15     and the total file size for the library of games for each video game system. For
16     instance, the Website advertises that it offers more than 3000 games for the
17     Nintendo 3DS, amounting to over 1.4TB of memory, with more than 500,000
18     downloads. Likewise, the Website advertises that it offers more than 200 games for
19     the Nintendo Switch constituting more than 1TB of memory and has provided
20     nearly 300,000 downloads of those games. These numbers increase daily.
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                                                     -9-                      COMPLAINT AND
                                                                        DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 11 of 19 Page ID #:11



 1             34.        Once downloaded, the pirated games can be played on computers,
 2     phones, and other devices with an emulator. When the pirated games are played,
 3     they display counterfeit copies of Nintendo’s trademarks.
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14             35.        Similarly, counterfeit copies of Nintendo’s marks appear during the
15     game play of the pirated games.
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26             36.        In addition to the vast library of pirated Nintendo 3DS and Nintendo
27     Switch games, the Website offers for download thousands of other games for nearly
28     every other Nintendo video game system.
                                                     -10-                       COMPLAINT AND
                                                                          DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 12 of 19 Page ID #:12



 1             37.        Since at least as early as January 2013, Defendants have offered paid
 2     “Premium Memberships” for the Website for $30 per year. Premium Memberships
 3     now require a one-time payment of $30 and allow users to download an unlimited
 4     number of pirated games, with higher speeds than non-members. Non-members are
 5     also restricted in the number of pirated games they can download. Currently, non-
 6     members can only download one free game before being required to purchase a
 7     Premium Membership for additional downloads.
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15             38.        Payment for the Premium Memberships is paid to Defendants through
16     the use of a third-party payment processor, GumRoad.com.
17             39.        As a direct result of Defendants’ infringement of Plaintiffs’ copyrights
18     and trademarks, Defendants’ Website has become enormously popular. The
19     Website has received hundreds of thousands of visitors each month and currently
20     received more than 75,000 visitors each month. These visitors are drawn to the
21     Website by the widespread availability of free, unauthorized copies of Nintendo’s
22     video games and other highly valuable intellectual property. Defendants are
23     directly profiting and have profited from their exploitation of Nintendo’s
24     intellectual property through donations, paid memberships, and advertising on the
25     Website.
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                                                      -11-                       COMPLAINT AND
                                                                           DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 13 of 19 Page ID #:13



 1                                  V.    FIRST CAUSE OF ACTION:
 2                                   COPYRIGHT INFRINGEMENT
 3                        (The Copyright Act, 17 U.S.C. §§ 106 et seq. and 501)
 4             40.        NOA incorporates by reference and re-alleges the preceding
 5     paragraphs.
 6             41.        NOA owns numerous registered copyrights related to Nintendo video
 7     games, characters, BIOS firmware for Nintendo video game systems, Nintendo
 8     musical compositions and audio recordings. These include without limitation the
 9     copyrighted works identified in Exhibit A. NOA has received Certificates of
10     Copyright Registration from the Register of Copyrights for each of the copyrighted
11     works identified in Exhibit A. These copyrights are in full force and effect and are
12     enforceable by NOA.
13             42.        According to the Website, tens of thousands of copies of the pirated
14     works identified in Exhibit A have been downloaded through use of the Website.
15             43.        Through the Website, Defendants regularly reproduce, distribute,
16     publicly perform, and display unauthorized copies of the Nintendo video games,
17     commercial packaging, and other copyrighted works, including the copyrighted
18     works identified in Exhibit A, all without Nintendo’s permission.
19             44.        The Website offers at least 247 pirated Nintendo Switch games and
20     more than 3000 pirated Nintendo 3DS games for download, and on information and
21     belief, these pirated games infringe hundreds of NOA’s separately registered
22     copyrighted works, including NOA’s copyright registrations for the works
23     identified in Exhibit A.
24             45.        The foregoing acts of Defendants constitute direct infringement in
25     violation of NOA’s exclusive rights in its copyrighted works under 17 U.S.C. §
26     106.
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                                                     -12-                       COMPLAINT AND
                                                                          DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 14 of 19 Page ID #:14



 1             46.        Defendants are also liable under the Copyright Act for inducing the
 2     infringing acts of the users of the Website. Defendants operate the Website with
 3     the object of promoting its use to infringe NOA’s copyrights.
 4             47.        Defendants are also liable under the Copyright Act as contributory
 5     infringers for the infringing acts of users of the Website. Defendants have actual
 6     and constructive knowledge of the infringing activity of users of the Website and
 7     knowingly cause or otherwise materially contribute to those infringements of
 8     NOA’s copyrights.
 9             48.        Defendants are also vicariously liable for the infringing acts of users of
10     the Website. Defendants have the right and ability to control and supervise the
11     infringing activities that occur through the use of the Website, and at all relevant
12     times have derived a direct financial benefit from the infringement of NOA’s
13     copyrights.
14             49.        The foregoing acts of infringement by Defendants have been willful,
15     intentional, and purposeful, or in reckless disregard of NOA’s rights.
16             50.        As a direct and proximate result of Defendants’ infringement of
17     NOA’s exclusive rights under Section 106 of the Copyright Act, NOA is entitled to
18     damages as well as Defendants’ profits under 17 U.S.C. § 504(b).
19             51.        Alternatively, and at NOA’s election, NOA is entitled to the maximum
20     statutory damages available under 17 U.S.C. § 504(c) in the amount of $150,000
21     per each infringement of NOA’s copyrighted works or for such other amount as
22     may be proper.
23             52.        NOA is entitled to its attorneys’ fees and full costs pursuant to 17
24     U.S.C. § 505.
25             53.        Defendants’ conduct is causing, and unless enjoined and restrained by
26     this Court, will continue to cause Nintendo great and irreparable injury that cannot
27     be fully compensated for or measured monetarily. NOA has no adequate remedy at
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                                                      -13-                        COMPLAINT AND
                                                                            DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 15 of 19 Page ID #:15



 1     law. NOA is entitled to a permanent injunction prohibiting any further
 2     infringement of NOA’s exclusive rights under the Copyright Act.
 3                                VI.    SECOND CAUSE OF ACTION
 4                                  TRADEMARK INFRINGEMENT
 5                          (The Lanham Act, 15 U.S.C. §§ 1114 and 1125(a))
 6             54.        NOA incorporates by reference and re-alleges the preceding
 7     paragraphs.
 8             55.        NOA owns federal registrations for the trademarks identified in
 9     Exhibit B hereto. These registrations are in full force and effect and are
10     enforceable.
11             56.        The pirated games offered by Defendants through the Website use and
12     incorporate NOA’s registered trademarks, including in the opening credits for each
13     game.
14             57.        Additionally, Defendants use NOA’s registered trademarks and
15     counterfeit copies of NOA’s registered trademarks, including the trademarks
16     identified in Exhibit B, on the Website to promote the sale of the pirated games and
17     to encourage visitors to download or play unauthorized copies of NOA’s
18     copyrighted works, thereby infringing NOA’s registered trademark.
19             58.        Defendants’ actions constitute use in interstate commerce of a false
20     designation of origin, false or misleading description of fact, or false or misleading
21     representation of facts that is likely to cause confusion or mistake, or to deceive as
22     to the affiliation, connection, or association of the goods and services with NOA, or
23     as to origin, sponsorship, or approval of the goods and services provided by
24     Defendants in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
25             59.        Defendants’ actions also constitute the use in interstate commerce of a
26     reproduction, counterfeit, copy, or colorable imitation of a registered trademark of
27     NOA in connection with the sale, offering for sale, distribution, or advertising of
28     goods or services on or in connection with which such use is likely to cause
                                                      -14-                       COMPLAINT AND
                                                                           DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 16 of 19 Page ID #:16



 1     confusion or mistake, or to deceive, in violation of Section 32 of the Lanham Act,
 2     15 U.S.C. § 1114.
 3               60.      Defendants knew or should have known of NOA’s rights, and
 4     Defendants’ infringement has been knowing, willful, and deliberate, making this an
 5     exceptional case within the meaning of 15 U.S.C. § 1117.
 6               61.      The infringing acts alleged above have a foreseeable effect on U.S.
 7     commerce.
 8               62.      Nintendo has been and continues to be damaged by Defendants’
 9     wrongful acts in a manner that cannot be fully measured or compensated in
10     economic terms, and NOA has no adequate remedy at law. Defendants’ acts have
11     damaged, and threaten to continue to damage, Nintendo’s reputation and goodwill.
12                                VII. FOURTH CAUSE OF ACTION
13                                    (California Unfair Competition)
14               63.      NOA incorporates by reference and re-alleges the preceding
15     paragraphs.
16               64.      By the acts described herein, Defendants have engaged in unlawful
17     business practices that have and will continue to injure NOA and its business in
18     California, in violation of California Business and Professions Code section 17200
19     et seq.
20               65.      The conduct of Defendants is unlawful as required by section 17200,
21     because Defendants have engaged in violations of state and federal law, including
22     unfairly competing with NOA by using NOA’s registered trademarks and
23     copyrights.
24               66.      The above unlawful conduct constitutes a business practice of
25     Defendants in violation of section 17200 et seq.
26               67.      The foregoing acts have damaged and irreparably harmed NOA and
27     will continue to do so if not enjoined.
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                                                     -15-                       COMPLAINT AND
                                                                          DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 17 of 19 Page ID #:17



 1             68.        As a direct and proximate result of Defendants’ conduct alleged
 2     herein, Defendants have been unjustly enriched and should be ordered to disgorge
 3     any and all profits earned as a result of such unlawful conduct.
 4                                       PRAYER FOR RELIEF
 5             WHEREFORE, plaintiff NOA seeks the following relief:
 6             A.         For judgment in favor of NOA, and against Defendants, for damages
 7     in such amounts as may be proven at trial;
 8             B.         An award of statutory damages as allowed by law, in an amount up to
 9     $150,000 for the infringement of each NOA copyrighted work and up to
10     $2,000,000 for the infringement of each NOA trademark through use of counterfeit
11     marks;
12             C.         An award of enhanced damages or profits, whichever is greater, under
13     Section 35 of the Lanham Act, 15 U.S.C. § 1117, and as otherwise provided by law;
14             D.         Based on Defendants’ willful and deliberate infringement of NOA’s
15     intellectual property, and to deter such conduct in the future, NOA be awarded
16     punitive damages;
17             E.         An accounting of all Defendants’ profits and gains from the Website;
18             F.         For the costs and expenses of this action, as well as NOA’s reasonable
19     attorneys’ fees;
20             G.         Pre-judgment and post-judgment interest;
21             H.         A permanent injunction enjoining Defendants and their agents,
22     servants, employees, and all those in active concert or participation with Defendants
23     to:
24                           a. Permanently cease all copying, distributing, selling, performing,
25                              displaying, playing, or otherwise using any unauthorized copy
26                              of a NOA copyrighted work, or any derivative thereof;
27                           b. Permanently cease using, or inducing or enabling others to use,
28                              and reproduction, counterfeit, copy, or colorable imitation of
                                                     -16-                        COMPLAINT AND
                                                                           DEMAND FOR JURY TRIAL


      LEGAL144559911.10
     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 18 of 19 Page ID #:18



 1                              NOA’s trademarks, in any manner in connection with the
 2                              manufacture, printing, distribution, advertising, offering for sale
 3                              or sale of any goods or services, including the use of NOA’s
 4                              trademarks in connection with a website;
 5                           c. Permanently cease using any trademark, service mark, name,
 6                              logo, design or source designation of any kind on or in
 7                              connection with Defendants’ goods or services that it likely to
 8                              cause confusion, mistake, deception or public misunderstanding
 9                              that such goods or services are produced or provided by
10                              Nintendo, or sponsored or authorized by Nintendo, or are in any
11                              way connected or related to Nintendo;
12                           d. Destroy all unauthorized Nintendo games or other unauthorized
13                              copies of Nintendo’s intellectual property including movies,
14                              books, and music; and
15                           e. Transfer all domains used by Defendants in furtherance of their
16                              infringing activities to NOA, including but not limited to
17                              NDSUniverse.com and RomUniverse.com;
18             I.         For such other relief as the Court may deem just and proper.
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        DATED: September 10, 2019                       PERKINS COIE LLP
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21                                                      By: /s/ Katherine M. Dugdale
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23
                                                        Attorneys for Plaintiff Nintendo of
24                                                      America Inc.
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                                                      -17-                        COMPLAINT AND
                                                                            DEMAND FOR JURY TRIAL


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     Case 2:19-cv-07818 Document 1 Filed 09/10/19 Page 19 of 19 Page ID #:19



 1                                DEMAND FOR JURY TRIAL
 2
               Plaintiff Nintendo of America Inc. hereby demands a trial by jury on all
 3
       claims so triable.
 4

 5
        DATED: September 10, 2019                  PERKINS COIE LLP
 6

 7                                                 By: /s/ Katherine M. Dugdale
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                                                   Attorneys for Plaintiff Nintendo of
10                                                 America Inc.
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                                                                      DEMAND FOR JURY TRIAL


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